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                  Exhibit 1
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Brian Sullivan

From:                Day, Alfred <DayA@SEC.GOV>
Sent:                Friday, February 14, 2020 9:23 AM
To:                  Brian Sullivan; Douglas Brooks
Cc:                  Jones, Marc
Subject:             Lemelson; motion to file under seal


Doug, Brian –

We intend to file a motion today with respect to the discovery materials provided to Barron’s. In support of our motion,
we intend to attach two documents, both of which have been designated “Confidential” under the protective orders in
this case (ECF Nos. 25 & 39) and/or refer to materials designated “Confidential”: Deposition Exhibit 128 and the email
inquiry from Barron’s to Ligand’s IR firm. We intend to ask the Court for leave to file these materials under seal. Please
let us know your position on that request.

Al

_______________________________
Alfred A. Day
Senior Trial Counsel
U.S. Securities and Exchange Commission
(617) 573‐4537




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                     Exhibit 2
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Brian Sullivan

From:                Jones, Marc <JonesMarc@SEC.gov>
Sent:                Thursday, February 20, 2020 4:27 PM
To:                  Brian Sullivan
Cc:                  Bondi, Bradley J.; Tonolli, Sean P.; WMcCaughey@cahill.com; Day, Alfred; Douglas Brooks
Subject:             Re: SEC v. Lemelson, et al., Civil Action No. 1:18-cv-11926-PBS


Brian,

Can you explain why you need to attach documents to an opposition to file under seal?

We currently object until we talk tomorrow.

Marc

Sent from my iPhone



         On Feb 20, 2020, at 4:24 PM, Brian Sullivan <BSullivan@libbyhoopes.com> wrote:


         CAUTION: This email originated from outside of the organization. Do not click links or open attachments
         unless you recognize the sender and know the content is safe.

         Counsel:

         We are filing an opposition to the Motion for Leave to File the Declaration of Alfred A. Day Under Seal
         (Dkt. No. 70). Pursuant to the Protective Order, we are providing notice of the documents identified by
         Bates numbers below that we are planning to attach as exhibits to the opposition. Please let us know
         whether you will seek a protective order or if we can proceed with filing these documents as exhibits.

                LGND_0018565‐LGND_0018568;
                LGND_0019457‐LGND_0019458;
                LGND_0027856‐LGND_0027862;
                LGND_0048691;
                LGND_0001970‐LGND_0001974;
                LGND_0040982‐LGND_0040983; and
                LGND_0040976.

         Brian J. Sullivan
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         Boston, MA 02116
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                     Exhibit 3
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Brian Sullivan

From:                 Jones, Marc <JonesMarc@SEC.gov>
Sent:                 Wednesday, February 19, 2020 3:55 PM
To:                   Brian Sullivan
Cc:                   Bondi, Bradley J.; Tonolli, Sean P.; WMcCaughey@cahill.com; Day, Alfred; Douglas Brooks
Subject:              Re: SEC v. Lemelson, et al., Civil Action No. 1:18-cv-11926-PBS


Brian,

I am away from my computer on vacation. Please send along copies of these docs/testimony and give me a chance to
review before you file. Also given the recent leak of documents, I’d like some assurances that these docs are necessary
for your motion and not an attempt to ratify post hoc your client’s apparent leak of docs to Barrons.

Also I’d like to know if you plan on answering Brad’s questions about those docs.

Please respond in full before you file any more documents with the court.

Marc

Sent from my iPhone



         On Feb 19, 2020, at 3:48 PM, Brian Sullivan <BSullivan@libbyhoopes.com> wrote:


         CAUTION: This email originated from outside of the organization. Do not click links or open attachments
         unless you recognize the sender and know the content is safe.

         Brad:

         We have not received a response to this email. Accordingly, we have proceeded with drafting a
         motion. If a motion is not necessary, then please let us know as soon as possible.

         Also, as alluded to in our initial email, there are some documents that Ligand has marked confidential,
         and that have not already been attached to filings, that we will plan to submit as exhibits here. Pursuant
         to the Protective Order, please let us know whether you plan to seek a protective order or object to the
         submission of these documents. The Bates numbers/deposition transcript pages for those documents
         are listed below.

                Excerpts of Matthew Foehr’s deposition on pages 107‐109 and 115‐167;
                LGND_0047390‐LGND_0047429;
                LGND_0047737‐LGND_0047795;
                LGND_0047804‐LGND_0047864;
                LGND_0047875‐LGND_0047935;
                LGND_0047972‐LGND_0048033; and
                LGND_0048069‐LGND_0048129.



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Pursuant to the Protective Order, your response to whether you object to the filing of these documents
is due in five business days, which would be Tuesday, February 25, 2020. If a motion is necessary, we
will plan to file our motion on Wednesday (or earlier depending on if and when we receive your
response).

Thanks.


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http://www.libbyhoopes.com




From: Brian Sullivan
Sent: Wednesday, February 12, 2020 6:12 PM
To: 'Bondi, Bradley J.' <bbondi@cahill.com>; 'Tonolli, Sean P.' <STonolli@cahill.com>;
'WMcCaughey@cahill.com' <WMcCaughey@cahill.com>
Cc: 'Jones, Marc' <JonesMarc@SEC.gov>; 'Day, Alfred' <DayA@SEC.GOV>; Douglas Brooks
<dbrooks@libbyhoopes.com>
Subject: SEC v. Lemelson, et al., Civil Action No. 1:18‐cv‐11926‐PBS

Brad:

We are sending this email to follow up regarding Monday’s telephone conference pursuant to Local Rule
7.1 to attempt to narrow or resolve the motion to compel documents that Ligand previously produced
and now seeks to claw back.

First, as an initial matter, we noticed that there are a number of documents that were produced, that
are not listed in your claw back request, but are listed in your Supplemental Privilege Log, dated
December 18, 2019. Could you please clarify whether Ligand is actually asserting privilege over those
documents? Please note that if Ligand intends to add these documents to its claw back request, then
we will challenge those documents as well, as those documents are of the same nature of the
documents Ligand has listed in its claw back request and the same arguments we have discussed would
apply.

Second, with regard to the issue you asked us to clarify on yesterday’s call, we do believe that Ligand
may be obligated to produce additional documents that it previously withheld as privileged. We would
emphasize and reiterate that we do not want any direct attorney‐client communications nor are we
seeking any analyses of claims that Ligand was considering pursuing itself. That being said, we maintain
our position that drafts of presentations that were being created for the sole purpose of meeting with
the SEC in an attempt to convince the SEC to engage in litigation against a third‐party is not attorney
work product. And, to the extent it was ever attorney work product, such protections were waived both
by Ligand electing to move forward with its presentations to the SEC and by the disclosure of the
documents in this case. Further, we would maintain that while we are not seeking any attorney‐client
communications, merely copying in‐house counsel, Charles Berkman, on drafts of presentations that
were designed to go to the SEC and not asking for any legal analysis does not constitute attorney work
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product. Further, as was done in the initial production, we maintain that the proper treatment for such
documents reflecting legal advice from Mr. Berkman with regard to the draft presentations would be to
redact those statements (as was done with LGND_0052232‐33).

Finally, assuming Ligand can agree to the production of the materials we outlined above, we understand
that all parties still reserve their rights to assert any objections with regard to the relevance and
admissibility at trial for any of the documents. Also, while we maintain that any work product privilege
for these documents has been waived, we would agree not to assert that the agreement between the
parties to avoid motion practice here constitutes an additional waiver.

Let us know if this is agreeable to you, in part or in whole, to resolve or narrow the motion. If a motion
is necessary, then we will provide a list of proposed exhibits that have been identified as Confidential as
required by the Protective Order, before filing. We would appreciate if Ligand would provide an
expedited response to the handling of the materials marked Confidential so we can get the motion on
file as soon as possible, if the motion is necessary. Thanks.


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